                        Case 6:18-bk-03204-CCJ                  Doc 12       Filed 07/14/18          Page 1 of 2
                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 18-03204-CCJ
Carlo Alejandro Vargas                                                                                     Chapter 7
Sharon Janice Rigaud
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 113A-6                  User: karla                        Page 1 of 1                          Date Rcvd: Jul 12, 2018
                                      Form ID: Dostkamd                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 14, 2018.
db/jdb         +Carlo Alejandro Vargas,   Sharon Janice Rigaud,   2704 Gold Dust Circle,
                 Kissimmee, FL 34744-5158

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 14, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 12, 2018 at the address(es) listed below:
              Alejandro Rivera    on behalf of Joint Debtor Sharon Janice Rigaud Rivera@riveraatlaw.com,
               bankruptcy1400@gmail.com;r51730@notify.bestcase.com
              Alejandro Rivera    on behalf of Debtor Carlo Alejandro Vargas Rivera@riveraatlaw.com,
               bankruptcy1400@gmail.com;r51730@notify.bestcase.com
              Richard B Webber   rbwebber@ecf.epiqsystems.com, rschohl@zkslawfirm.com
              United States Trustee - ORL7/13   USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 4
               Case 6:18-bk-03204-CCJ                Doc 12    Filed 07/14/18        Page 2 of 2
[Dostkamd] [Order Striking Amendment To Schedules]




                                        ORDERED.
Dated: July 12, 2018




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION
                                         www.flmb.uscourts.gov



In re:                                                                   Case No. 6:18−bk−03204−CCJ
                                                                         Chapter 7
Carlo Alejandro Vargas
aka Carlo Vargas−Burgos

Sharon Janice Rigaud

________Debtor*________/

                              ORDER STRIKING AMENDED SCHEDULE E/F

  THIS CASE came on for consideration, without hearing, of the Amended Schedule E/F filed July 2, 2018,
Doc. No. 10. The Amended Schedule E/F is deficient as follows:

         The Amendment to Schedules is not limited to only new or deleted information pursuant to
         Local Rule 1009−1(b).

         The Amendment to Schedules does not include an Amended Summary of Your Assets and
         Liabilities required for reporting purposes in compliance with 28 U.S.C. § 159(c)(3)(A), (B)
         and/or (C).

   Accordingly, it is ORDERED:
   The Amended Schedule E/F is stricken without prejudice and with leave to refile after having cured these
deficiencies.

The Clerk's office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
